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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MEGAN ENGLISH,                                 :
    Plaintiff,                                 :
                                               :                         CIVIL ACTION
       v.                                      :                         NO. 19-5277
                                               :
TURN 5, INC.,                                  :
     Defendant.                                :
                                           ORDER

       AND NOW, this 16th day of October, 2020, upon consideration of Defendant’s Partial

Motion to Dismiss (ECF No. 9) and the Responses filed thereafter (ECF Nos. 10, 13), and for the

reasons set forth in the Court’s accompanying Memorandum, it is hereby ORDERED as follows:

  1.   Defendant’s Partial Motion to Dismiss (ECF No. 9) is GRANTED IN PART and
       DENIED IN PART:

       a. Defendant’s Motion is GRANTED with respect to Plaintiff’s constructive
          discharge claim in Count I (Title VII) and Count III (PHRA). These claims are
          DISMISSED WITH PREJUDICE.

       b. Defendant’s Motion is GRANTED as to Plaintiff’s unlawful demotion claim in
          Count III (PHRA). That claim is DISMISSED WITH PREJUDICE.

       c. Defendant’s Motion is DENIED with respect to Plaintiff’s retaliation claim
          under Title VII (Count I) and the PHRA (Count III).

       d. Defendant’s Motion is DENIED as to Plaintiff’s failure-to-promote claim under
          the PHRA (Count III).

   2. Defendant’s Partial Motion to Dismiss (ECF No. 5) is DENIED as MOOT.

   3. Defendant shall file an answer to the First Amended Complaint on the remaining claims
      no later than Friday, November 6, 2020.

                                                          BY THE COURT:




                                                          /s/ C. Darnell Jones, II
                                                          C. DARNELL JONES, II            J
